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              11                               UNITED STATES DISTRICT COURT
              12                               EASTERN DISTRICT OF CALIFORNIA
              13
              14 RALPH COLEMAN, et al.,                         Case No. 2:90-CV-00520-KJM-DB
              15                 Plaintiffs,                    JOINT STATUS REPORT
                                                                REGARDING FILING OF GOLDING
              16          v.                                    REPORT WITH REDACTIONS
                                                                Judge: Hon. Kimberly J. Mueller
              17 EDMUND G. BROWN, JR., et al.,
              18                 Defendants.
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               1         During the October 10, 2018 status conference and in its October 12, 2018 Order,
               2 this Court ordered the parties to meet and confer regarding publicly filing a redacted
               3 version of a report, and exhibits thereto, recently released by CDCR’s Chief Psychiatrist,
               4 Dr. Michael Golding (“the Golding Report”). ECF No. 5949 at 3, 5. The Court further
               5 ordered that the parties file “an explanation why any part[y] believes the documents cannot
               6 be filed in redacted form” if an agreement could not be reached. Id. at 5. Although the
               7 parties met and conferred following the Court’s order, including in person following the
               8 status conference, through numerous phone calls, and with exchanges of emails, the parties
               9 were unable to reach agreement regarding redaction of the Golding Report. The parties
              10 hereby submit their joint respective positions.
              11 I.      Plaintiffs’ Position
              12         The only information that must be redacted from the Golding Report are class
              13 members’ names and identifying information, such as CDCR numbers or other unique
              14 identifiers such as case numbers. Such redactions are consistent with the Protective Order
              15 in this case, with the parties’ long-standing practice of redacting or sealing class member
              16 identifying information (which, by definition, reveals confidential information about those
              17 individuals’ mental health status and/or treatment), and with legal precedent. See ECF No.
              18 2019.1 Additional redactions are unnecessary and would undercut the strong public policy
              19
              20         1
                           Courts have appropriately sealed documents that “record … medical and
              21   psychological examinations and diagnoses” under the governing Ninth Circuit standard,
                   discussed below. Jurgens v. Dubendorf, No. 2:14-CV-2780-KJM-DAD, 2015 WL
              22   6163464, at *2 (E.D. Cal. Oct. 19, 2015); see also Heilman v. Vojkufka, No. CIV S-08-
                   2788, 2011 WL 677877, at *4 (E.D. Cal. Feb. 17, 2011), report and recommendation
              23   adopted, No. CIV S-08-2788 KJM, 2011 WL 3881023 (E.D. Cal. Sept. 2, 2011) (ordering
                   documents taken from plaintiff prisoner’s psychiatric records removed from court’s
              24   electronic docket and filed under seal); Karpenski v. Am. Gen. Life Companies, LLC, No.
                   2:12-CV-01569-RSM, 2013 WL 5588312, at *1 (W.D. Wash. Oct. 9, 2013) (“The need to
              25   protect medical privacy qualifies in general as a ‘compelling reason.’”); San Ramon Reg’l
                   Med. Ctr., Inc. v. Principal Life Ins. Co., No. 10–02258, 2011 WL 89931, at *1 n.1 (N.D.
              26   Cal. Jan. 10, 2011) (sua sponte sealing confidential medical records presented in the
                   context of a motion to dismiss); Eugene S. v. Horizon Blue Cross Blue Shield of N.J., 663
              27   F.3d 1124, 1135-36 (10th Cir. 2011) (finding documents containing personal and private
                   medical information present a real and substantial interest that justifies depriving the
              28   (footnote continued)

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               1 favoring access and disclosure of information in judicial proceedings. Kamakana v. City
               2 & Cnty. of Honolulu, 447 F.3d 1172, 1178-79 (9th Cir. 2006).
               3         The Golding Report, as released to the parties, already redacted some but not all
               4 class member identifying information. Plaintiffs prepared, and provided to Defendants, a
               5 version of the Golding Report that redacts class members’ names and identifying
               6 information, as well as personal cell phone numbers belonging to CDCR employees. See
               7 ECF No. 2833 at 7 (Three-Judge Court June 20, 2008 Order expanding Protective Order to
               8 cover “personal telephone numbers”).2
               9         Until the afternoon of this filing, the parties agreed that a further-redacted version of
              10 the Golding Report could be publicly filed, but disagreed as to the scope of appropriate
              11 redactions. In addition to class member information, Defendants maintained that all
              12 identifying information of any sort – including of any CDCR employee name, work email,
              13 or title – should be redacted. Despite multiple requests for legal support or further
              14 explanation for the basis for this position, and Defendants’ promise to provide such
              15 authority no later than the morning of this filing, Defendants still had not provided their
              16 legal argument until after 4:25 p.m. today, just minutes before this Court’s 5:00 p.m.
              17
              18 public of access to the records and therefore may be filed under seal). As in Jurgens, here
                 “the public interest in disclosure of the medical records in question is outweighed by
              19 [Plaintiffs’] privacy interests.” 2015 WL 6163464, at *2.
              20 salient Arguments    regarding the protection of mental health information are particularly
                         in the context of prisoners’ information. Sensitive information pertaining to
              21 Plaintiffs’ mental and physical health could compromise their safety and well-being during
                 present or future incarceration. See, e.g., Chandler v. Amsberry, No. 3:08-CV-00962-SI,
              22 2014  WL 1323048, at *3 (D. Or. Mar. 28, 2014) (noting the vulnerabilities of “prisoners
                 with physical or mental disabilities” and “prisoners with known mental illness”).
              23         2
                           In addition to the redactions, the exhibits to the report contain two changes from
                 the version
              24 exhibits have submitted for in camera review on Tuesday, September 9, 2018. First, the
                                 been re-compiled into chronological order with lettered slip-sheets
                 identifying  each  exhibit’s filename as provided to Plaintiffs. Second, Plaintiffs’ September
              25 9 submission inadvertently     omitted a one-page exhibit titled “CHCF-2018-07-ASAS” that
                 Plaintiffs have  now   identified as Exhibit T, and in its place submitted a duplicate of the
              26 one-page exhibit titled “2018-06-18-1359hrs”      that is now identified as Exhibit S.
              27 Plaintiffs’ redacted  report  corrects this.

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               1 deadline for filing this Joint Statement. Additionally, at 1:00 p.m. today, Defendants
               2 changed their previously disclosed position—they now argue that the Golding Report
               3 should remain under seal in its entirety, rather than be redacted. See Decl. of Cara E.
               4 Trapani at ¶¶ 4-5, filed herewith. Plaintiffs cannot meaningfully respond to Defendants’
               5 new arguments within these time constraints. However, Plaintiffs make the following
               6 general observations.
               7         Pursuant to Local Rule 141, “[d]ocuments may only be sealed by written order of
               8 the Court, upon the showing required by applicable law.” In addition, the Ninth Circuit
               9 has a strong presumption in favor of public access to Court records. See Ninth Cir. Local
              10 R. 27-13 (citing The Center for Auto Safety v. Chrysler Group, LLC, 809 F.3d 1092, 1096
              11 (9th Cir. 2016); Oliner v. Kontrabecki, 745 F.3d 1024, 1025-26 (9th Cir. 2014); Seattle
              12 Times v. U.S. Dist. Court of Western Washington, 845 F.2d 1513, 1516 (9th Cir. 1988).)
              13 In addition to meeting the compelling reasons or good cause standard, any request to seal
              14 must be narrowly tailored, Oliner, 745 F.3d at 1026 (citations omitted); Perry v.
              15 Schwarzenegger, 302 F. Supp. 3d 1047, 1053-54 (N.D. Cal. 2018), and therefore seek
              16 sealing only of sealable information. This precludes, except in the rarest circumstances,
              17 broad-brush requests that would seal entire documents. See Oliner, 745 F.3d at 1026 (“A
              18 party who seeks to seal an entire [document] faces an even heavier burden.” (citation
              19 omitted))); cf. Ninth Cir. Local R. 27-13(e) (“In addition, the motion shall request the least
              20 restrictive scope of sealing and be limited in scope to only the specific documents or
              21 portion of documents that merit sealing, for example, propose redaction of a single
              22 paragraph or limit the request to a portion of a contract.”); N.D. Local R. 79-5(b)
              23 (explaining that any request to seal “must be narrowly tailored to seek sealing only of
              24 sealable material”). Defendants’ request here is vastly overbroad, seeking to seal large
              25 swaths of information that must be left open to public scrutiny. This Court should permit
              26 the filing of Plaintiffs’ redacted version of the Golding report, which Plaintiffs have
              27 carefully reviewed to ensure only sealable information will be kept from the public.
              28         With respect to Defendants’ alternative request to redact all identifying information

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               1 in the Golding Report, Defendants have provided no authority justifying their request to
               2 redact CDCR employee names and position titles from the Golding Report. Public policy
               3 favors access and disclosure of information in judicial proceedings, and this interest may
               4 be overcome only by “compelling reasons” that outweigh the right of public access and
               5 justify placing judicial records under seal. Kamakana, 447 F.3d at 1178-79. Moreover,
               6 redactions cannot be justified merely by identifying information to be redacted, without
               7 any “specific compelling reasons to justify these redactions.” Id. at 1183-84. “Simply
               8 mentioning a general category of privilege, without any further elaboration or any specific
               9 linkage with the documents, does not satisfy the burden.” Id. at 1184. But this is exactly
              10 what Defendants have done here—they have requested that the whole category of
              11 employee names and titles be redacted, without elaboration of any justification and without
              12 any explanation of why use of certain names and titles in the Golding Report raises any
              13 privacy concerns, much less compelling ones sufficient to overcome the presumption of
              14 public access. Without any such explanation, the Court cannot make any “good cause
              15 findings as to specific documents” as required to justify redaction of employee names and
              16 titles. See id. at 1183-84.
              17         The operative January 2007 Protective Order in this case also does not support
              18 Defendants’ request to redact employee names and titles. See ECF No. 2019. Nor does
              19 the Three-Judge Court’s June 2008 expanded Protective Order. See ECF No. 2833. The
              20 January 2007 Protective Order does not list employee names and titles as protected
              21 information, and the June 2008 Order protects only “employee social security numbers,
              22 federal identification numbers, personal telephone numbers, addresses, or personal e:mail
              23 addresses.” See ECF No. 2833 at 7. However, that Order did not protect from disclosure
              24 employee names and titles, or those employees’ government contact information. The
              25 Golding Report contains some mobile phone numbers, but it does not contain social
              26 security numbers, federal identification numbers, or other personal numbers, addresses, or
              27 emails.
              28         Finally, there is nothing about employee names and titles that intrinsically justifies

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               1 redaction, and in fact, these names and job titles provide highly relevant context that is
               2 critical to understanding the report’s extremely serious assertions that go to the very heart
               3 of this litigation. Indeed, it would be impossible for Dr. Golding to testify as to the
               4 gravamen of his allegations at the upcoming hearing without referencing information that
               5 Defendants ask be redacted. “The mere fact that the production of records may lead to a
               6 litigant’s embarrassment, incrimination, or exposure to further litigation will not, without
               7 more, compel the court to seal its records.” Kamakana , 447 F.3d at 1179 (citation
               8 omitted). The names of all state employees are public as a matter of California state law
               9 and federal law. Comm’n on Peace Officer Standards & Training v. Superior Court, 165
              10 P.3d 462, 473 (Cal. 2007) (citing California Attorney General opinions regarding state law
              11 and 5 C.F.R. § 293.311 regarding federal law.) In California many state employees’
              12 names, job titles, and historical compensation are already publicly available at
              13 https://transparentcalifornia.com/, a searchable online database. To the extent any CDCR
              14 employee claims Dr. Golding has defamed or otherwise violated his or her rights in
              15 releasing his report, they have access to all available legal remedies should they be able to
              16 establish liability. Defendants have presented no justification for redaction of these
              17 particular names or titles within the context of the Golding Report, and this information is
              18 necessary to fully understand the report and exhibits in the context of this case. Plaintiffs
              19 therefore request to publicly file the Golding Report with redactions of only class member
              20 identifying information and CDCR employee mobile phone numbers.
              21 II.     Defendants’ Position
              22         On October 12, 2018, this Court ordered that the parties file a redacted version of
              23 materials authored by Dr. Michael Golding, Chief Psychiatrist for the California
              24 Department of Corrections and Rehabilitation (CDCR) (Golding Allegations), or explain
              25 why any party believes the Allegations cannot be filed in redacted form. (ECF No. 5949 at
              26 5.) The Golding Allegations should remain filed under seal pending the conclusion of an
              27 investigation into the merit of Dr. Golding’s allegations. Filing the Golding Allegations in
              28 the public record, even if redacted, poses a significant risk of irreparable harm to

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               1 Defendants’ ability to maintain a collaborative working relationship between staff within
               2 the Mental Health Services Delivery System (MHSDS). A public filing also risks
               3 compromising an independent investigation. Moreover, publishing the report on the
               4 Court’s public docket would be unfair to the individuals mentioned in the report. Dr.
               5 Golding’s assertions of wrongdoing have not been tested or proven, and the individuals
               6 have had no opportunity to defend against being impugned in this way.
               7          Alternatively, if despite the significant risk of harm the Court decides to
               8 nevertheless file the Golding Allegations in the public record, the Court should accept
               9 Defendants’ proposed redactions to the Golding Allegations to protect the identities of
              10 CDCR personnel and inmate-patients. The Allegations accuse CDCR employees of
              11 engaging in wrongful behavior. These employees are identified by name and title, and the
              12 Allegations disclose personal cellular telephone numbers and e-mail addresses. All such
              13 identifying and personal information should remain confidential pending a full
              14 investigation into Dr. Golding’s allegations.
              15          A.     Compelling Reasons Exist To Not Publicly Disclose The Golding
                                 Allegations.
              16
                          While documents filed in civil cases are presumed to be available to the public, a
              17
                   court may seal documents where compelling reasons outweigh the public’s right of access.
              18
                   EEOC v. Erection Co., 900 F.2d 168, 170 (9th Cir. 1990). The court considers “the public
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                   interest in understanding the judicial process and whether disclosure of the material could
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                   result in improper use of the material for scandalous or libelous purposes or infringement
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                   upon trade secrets.” Valley Broadcasting Co. v. U.S. District Court, 798 F.2d 1289, 1294
              22
                   (9th Cir. 1986). Compelling reasons include “when a court record might be used to
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                   ‘gratify private spite or promote public scandal,’ to circulate ‘libelous’ statements, or ‘as
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                   sources of business information that might harm a litigant’s competitive standing.’” Nixon
              25
                   v. Warner’s Commc’ns, Inc., 435 U.S 589, 598-99 (1978); see also United States v.
              26
                   Amodeo, 71 F.3d 1044, 1048-49 (2d Cir. 1995) (“Unlimited access to every item turned up
              27
                   in the course of litigation would be unthinkable. Reputations would be impaired, personal
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               1 relationships ruined, and businesses destroyed on the basis of misleading or downright
               2 false information.”). Defendants meet this standard here.3
               3         The Golding Allegations should be filed under seal because they contain unverified
               4 hearsay statements that will harm CDCR’s MHSDS. Even in redacted form, the Golding
               5 Allegations consist almost exclusively of unverified statements taken out of context that
               6 Dr. Golding uses to support his personal opinions about the construct of Defendants’
               7 MHSDS. The Golding Allegations contain serious accusations that attack both individuals
               8 and the Mental Health Services Delivery System. The public filing of the Golding
               9 Allegations or any portion of those Allegations, absent a full vetting of the factual basis for
              10 the statements in those Allegations attributed to third parties, would artificially give
              11 credence to Dr. Golding’s unverified statements and opinions. See United States v.
              12 Amodeo, 71 F.3d at 1048–49 (public release of unverified and possibly false allegations in
              13 court monitoring report would be abuse of discretion); cf. United States v. Kwok Cheung
              14 Chow, No. 14 CR00196 CRB JCS, 2015 WL 5094744, at *4 (N.D. Cal. Aug. 28, 2015)
              15 (sealing wiretap information containing allegations against third parties, as “the release of
              16 certain information may have a disparaging effect on people who, having not been charged
              17 with any crime, have no formal opportunity clear their names”). The potential for the
              18 Golding Allegations to libel CDCR employees is a basis for the Court to retain the Golding
              19 Allegations in camera pending an investigation.
              20         Moreover, the ramifications of the public release of the Golding Allegations,
              21 regardless of the extent of the redactions, are far-reaching and likely to destruct and harm
              22 the culture and working relationships within the institutions. The risk of harm extends to
              23 the relationship between psychologists and psychiatrists, and other members of the
              24
                         3
                           A request to seal must generally meet a lower “good cause” standard for materials
              25 filed in relation to non-dispositive motions or discovery as opposed to pleadings.
                 Kamakana     v. City   Cty. of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006). The
              26 compelling reasons&supporting    Defendant’ request that the Golding Allegations remain
              27 under  seal establish good  cause.

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               1 patients’ treatment teams, by attacking the core values of the system, the organization of
               2 the system, and every clinician’s professional and personal value and integrity. Dr.
               3 Golding is entitled to his opinions, but he is questioning a decades-old construct that is the
               4 product of litigation, thoughtful negotiation among the parties, and consistent monitoring.
               5 Indeed, many of Dr. Golding’s allegations take aim at systems and procedures that are
               6 court-ordered and approved by the Special Master and Plaintiffs.
               7          B.     If The Golding Allegations Must Be Filed, All Identifying Information
                                 Should Be Redacted.
               8
                          Plaintiffs already requested the Court file the Golding Allegations under seal
               9
                   because they contain “confidential class member information covered by the protective
              10
                   order in this case, as well as sensitive information detailing allegations of material
              11
                   misrepresentations of compliance data and information that could implicate the privacy
              12
                   rights of various CDCR employees quoted and discussed therein.” (ECF No. 5937 at 2.)
              13
                   Defendants agree that the Golding Allegations should remain sealed based on the nature of
              14
                   the allegations and the privacy rights of the individuals quoted and discussed in the
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               1 Golding Allegations. However, if the Court orders the Golding Allegations filed, then all
               2 identifying information for both CDCR employees and inmates should be redacted prior to
               3 filing, including but not exclusive to names, titles, emails, and telephone numbers.
               4 Defendants have prepared a redacted version of the Golding Allegations consistent with
               5 their position and will file it upon Court order.
               6
               7
               8 DATED: October 15, 2018                  Respectfully submitted,
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              10
              11                                          By: /s/ Cara E. Trapani
              12                                              Cara E. Trapani

              13                                          Attorneys for Plaintiffs
              14
                   DATED: October 15, 2018                Respectfully submitted,
              15
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              17
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              21                                          Attorneys for Defendants

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